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LAW OFFICES OF GIHAN THOMAS

A Professional Corporation

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Attorney For Plaintiff

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

Mengyao LIU
Case No:: 3:25-cv-4855

Plaintiff,
V.S. COMPLAINT FOR:
UNITED STATES DEPARTMENT OF 1) DECLARATORY AND
HOMELAND SECURITY; UNITED INJUNCTIVE RELIEF
STATES CITIZENSHIP AND 2) WRIT IN THE NATURE OF
IMMIGRATION SERVICES; SAN IMMIGRATION MANDAMUS

FRANCISCO ASYLUM OFFICE;

EMILIA BARDINI; KRISTI NOEM:

UR M. JADDOU, TED H. KIM;
MATTHEW D. EMRICH; AND DOES 1-10,

Defendants,

By and through her undersigned counsel, Plaintiff; MENGYAO LIU (“Plaintiff’) brings

this action, individually on behalf of MENGYAO LIU.

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INTRODUCTION

This action is brought by Plaintiff Mengyao Liu, by and through her attorney, to request
issuance of a writ of mandamus or in the nature of mandamus and/or to compel under the
Administrative Procedure Act (“APA”) ordering Defendants and those acting under them to
process an Application for Asylum and for Withholding of Removal which was received and
pending as of June 08, 2020 and which has still not been called for an interview.

On January 26, 2020, Plaintiff Mengyao Liu came to the United States on non-immigrant
visa and has stayed in the US ever since. On June 08, 2020, Plaintiff submitted an I-589
Application for Asylum and Withholding of Removal to the San Francisco Asylum Office.
See (Exhibit A: I-589 Application for Asylum and Withholding of Removal; Exhibit B:
1-589 Receipt Notice). Plaintiff Mengyao Liu sought asylum in the United States of America
based on her past persecution as a victim of Family Planning Policy in China.

After submitting her application for asylum, Defendant USCIS instructed Plaintiff Mengyao
Liu to present herself for biometric inspection at a designated USCIS Application Support
Center on October 16, 2020. See (EXHIBIT C: I-797 Notice of Action- Fingerprint
Notification). Plaintiff Mengyao Liu did appear at the designated Application Support
Center on October 16, 2020 and provided her biometric information.

After Plaintiff provided her biometrics information, neither Defendant USCIS nor Asylum
Office nor any of the other named Defendants communicated with Plaintiff about the exact
date her asylum interview would be scheduled. The Plaintiff has been waiting over 5 years
for her interview date at this point. Plaintiff has no way of knowing how much longer she
will have to wait in order to testify in support of her application for asylum. Plaintiff

Mengyao Liu is unable to plan for her future and is forced to endure the constant uncertainty

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of the possibility her application will be denied and referred to The Executive Office for

Immigration Review (EOIR).

. Defendants have violated the Administrative Procedures Act (“APA”) by failing to schedule

Plaintiff's asylum application for an interview which has been pending now for over 5 years.
Plaintiff seek to compel Defendants, through a writ of mandamus, to schedule an interview

for the pending asylum application.

PARTIES

. Plaintiff Mengyao Liu is citizen of China. Plaintiff Mengyao Liu came to the United States

on non-immigrant visa on January 26, 2020. Plaintiff filed her I-589 Application for Asylum

and Withholding of Removal on June 08, 2020.

. Defendant UNITED STATES DEPARTMENT OF HOMELAND SECURITY (hereinafter

“DHS”) is an agency of the United States government involved in the acts challenged,
employs the officers named as defendants, and includes the U.S. Citizenship and
Immigration Services and San Francisco Asylum Office and officers named as defendants in

this complaint.

. Defendant UNITED STATES CITIZENSHIP AND IMMIGRATION SERVICES

(hereinafter “USCIS”) is an agency of the United States government under DHS, overseeing

the San Francisco Asylum Office and officers named as defendants in this Complaint.

. Defendant SAN FRANCISCO ASYLUM OFFICE (hereinafter “San Francisco Asylum

Office”) is an office within USCIS and the federal agency with direct authority and

responsibility to adjudicate Plaintiff's asylum application.

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Defendant EMILIA BARDINI (hereinafter “Director Bardini”) is the director of the San
Francisco Asylum Office. This suit is brought against Director Bardini in her official
capacity, as she is charged with overseeing the adjudication of the asylum applications at the
San Francisco Asylum Office in a timely manner, and ensuring the efficiency of the officers
employed.

Defendant KRISTI NOEM (hereinafter “Secretary Noem”) is the Secretary of the
Department of Homeland Security. This suit is brought against Secretary Noem in her
official capacity, as she is charged with the administration and enforcement of all
immigration and citizenship laws that are bound in the powers, duties, and functions of the
Department of Homeland Security.

Defendant UR M. JADDOU (hereinafter “Director Jaddou”) is the Director of USCIS, the
Agency charged with adjudicating Plaintiff(s) asylum application. This suit is brought
against Director Jaddou in her official capacity, as she is charged with oversight,
administration, and execution of immigration laws of the United States.

Defendant TED H. KIM (hereinafter “Associate Director KIM”) is the Associate Director of
Refugee, Asylum, and International Operations. This suit is brought against Associate
Director Kim in his official capacity, as he is charged with supervision over all asylum
offices, including the San Francisco Asylum Office, and it requires some applications to be
forwarded to headquarters before final adjudication, and may, upon information and belief,
have ordered that Plaintiffs case be forwarded to his office for its review.

Defendant MATTHEW D. EMRICH (hereinafter “Associate Director Emrich’) is the
Associate Director of USCIS Fraud Detection and National Security Directorate. This suit is

brought against Associate Director Emrich in his official capacity, as he supervises all

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USCIS staff who review asylum applications to ensure that immigration benefits are not
granted to individuals who pose a threat to national security or public safety, or who seek to
defraud the immigration system. Certain applications must be reviewed by the Fraud
Detection and National Security Directorate before her final adjudication. Upon information
and belief, USCIS has not adjudicated the Plaintiffs’ asylum application because the Fraud

Detection and National Security Directorate has never completed its review.

JURISDICTION

The Administrative Procedure Act recognizes a right of judicial review for any person
“suffering legal wrong because of an agency action or aggrieved or adversely affected by
such action within the meaning of any relevant statutes.” 5 U.S.C. § 702. Plaintiff suffered a
legal wrong and continue to suffer because of the Defendants’ failure to act upon the pending
Asylum application for indefinite periods of time.

The Court has jurisdiction over the present action pursuant to 8 C.F.R, § 204, Immigration &
Nationality Act § 203 (b)(1)(C); 28 U.S.C. § 1131, 28 U.S.C. § 136, the Mandamus Act; 28
U.S.C §2201, the Declaratory Judgement Act; and 5 U.S.C. §701-706, the Administrative
Procedures Act. Costs and attorney fees will be sought pursuant to the Equal Access to
Justice Act, 5 U.S.C. §504 and 28 U.S.C. §2412(d), et seq. Relief is requested pursuant to
said statutes.

The APA also provides pursuant to 5 U.S.C. § 706(1) that courts “shall compel agency action
unlawfully withheld.” Courts have held that this provision eliminates court discretion to grant

relief once an agency has violated a statutory deadline. See Biodiversity Legal Foundation v.

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Badgley, 309 F.3d 1166, 1178 (9% Cir. 2002) (noting that when “Congress has specifically

provided a deadline for performance, no balancing of factors is required or permitted.”

VENUE
Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(e), which provides that in a civil
action in which each defendant is an officer or employee of the United States or any agency
thereof acting in his or her official capacity, or under the color of legal authority, or any
agency of the United States, the action may be brought in any judicial district in which a
plaintiff resides, so long as no real property is involved in the action. Plaintiff resides in
Emeryville, California, which is located in the Northern District of California. No real

property is involved in this action. Therefore, venue is proper in this Court.

EXHAUSTION OF REMEDIES

Plaintiff has no administrative remedies. Since Plaintiff Mengyao Liu received her
notification to process her biometric information, she received no clear correspondence or
communication from Defendant USCIS nor Asylum Office about how much longer she will
have to wait for the pending asylum application to be called for an interview. Plaintiff has
been waiting over 5 years at this point to have her asylum claim heard at the San Francisco

Asylum Office. There are no administrative remedies for neglect of duty.

CAUSE OF ACTION

Pursuant to 8 U.S.C §1158, Plaintiff Mengyao Liu filed an application for Asylum and

Withholding of Removal on June 08, 2020.

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Since filing her Application, Plaintiff Mengyao Liu has not received any concrete indication
from the Defendant San Francisco Asylum Office nor USCIS of the date her Asylum
interview will be scheduled. Plaintiff Mengyao Liu, therefore, has no way of knowing how
much longer the scheduling process will take.

Under 28 U.S.C. § 1361, the district courts shall have original jurisdiction of any action in
the nature of a mandamus to compel an officer or employee of the United States or any
agency thereof to perform a duty owed to the plaintiff.

Under the Administrative Procedures Act, a person suffering legal wrong because of agency
action, or adversely affected or aggrieved by agency action within the meaning of a relevant
statute, is entitled to judicial review thereof.

Defendants have a statutory duty to adjudicate asylum requests within 180 days of filing
pursuant to 8 U.S.C. § 1158 (d)(5)(A)(iii). It has been over 5 years since Plaintiff Mengyao
Liu applied for Asylum. Plaintiff have yet to receive an interview date for her case.

Plaintiff has no adequate remedy at law, and will continue to suffer irreparable harm if the
asylum application is not promptly scheduled.

Pursuant to 28 U.S.C. § 1361, this Court has “original jurisdiction in the nature of the
mandamus to compel an officer or employee of the United States or any agency thereof to
perform a duty owed to the [Plaintiffs.]”

Pursuant to 28 U.S.C. § 1651, this Court may issue any and all “writs necessary or
appropriate in aid of [the Court’s] respective jurisdiction and agreeable to the usages and

principles of law.”

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CLAIM FOR RELIEF

Plaintiffs claim in this action is clear and certain. Plaintiff realleges paragraphs 1 through 27,

and, as if fully set forth, Plaintiff is entitled to an order in the nature of mandamus to compel

Defendants to complete administrative processing and schedule an interview for the pending

Asylum application.

As a result of the Defendants’ failure to adequately perform their duties, Plaintiff has

suffered, is suffering, and will continue to suffer irreparable harm. Specifically:

a. Plaintiff has been irreparably damaged from the fear of not knowing or ability to prepare
for her future concerning what will happen with her asylum case for over 5 years.
Plaintiff Mengyao Liu has been constantly hoping to have the case scheduled for an
interview so her case could then be adjudicated and she can progress with her lives. Due
to the abnormally long wait and lack of certainty surrounding when her asylum case will
be heard, Plaintiff is enduring significant psychological trauma.

b. The delay is causing irreparable harm to Plaintiff who is not able to progress with her
lives in the United States without fear of being forced to return to China, a country where
she was subjected to the Family Planning Policy and forced to have an abortion.

The Defendants, in violation of the Administrative Procedure Act, are unlawfully

withholding or unreasonably delaying action on Plaintiff Mengyao Liu’s application and

have failed to carry out the non-discretionary adjudicative functions delegated to them by law
with regard to her case.

The duty of the Defendants is non-discretionary, ministerial, and so plainly described as to be

free from doubt that mandamus is appropriate in this matter.

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32. Plaintiff Mengyao Liu has attempted to learn about the status of her pending Asylum and

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Withholding of Removal application, all to no avail. Only the San Francisco Asylum Office

can make decisions on scheduling an asylum interview, leaving no adequate remedy.

Accordingly, Plaintiff has been forced to pursue the instant action.

PRAYER

WHEREFORE, in view of the arguments and authorities noted herein, Plaintiff respectfully

prays that the Defendants be cited to appear herein and that, upon due consideration, the

Court:

a. Accept jurisdiction and maintain continuing jurisdiction in this action;

b. Declare as unlawful the violation by Defendants of failing to act on a properly filed
Asylum and Withholding of Removal application;

c. Declare Defendants’ failure to carry out the adjudicative functions delegated to them by
law with regard to Plaintiff's case as agency action unlawfully withheld and unreasonably
delayed, pursuant to 5 U.S.C. § 706(1);

d. Issue a preliminary and permanent injunction pursuant to 28 U.S.C. § 1361 and 5 U.S.C.
§ 706(1) compelling the Defendants to take action on Plaintiff Mengyao Liu asylum
application by scheduling an asylum interview and then timely adjudicating the case
subsequent to the interview;

e. Issue a writ in the nature of mandamus pursuant to 28 U.S.C. § 1361 and 5 U.S.C. §

706(1), compelling the Defendants to take action on Plaintiff Mengyao Liu’ Withholding
of Removal Application by scheduling an interview and then timely adjudicating the case

subsequent to the interview;

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f. Grant attorney’s fees and costs of this suit under the Equal Access to Justice Act, 28
U.S.C. § 2412;

g. Grant such relief at law and in equity as justice may require.

Dated: June 09, 2025
Respectfully Submitted,

/Is//, GIHAN THOMAS

Gihan L. Thomas
Certified Specialist, Immigration and Nationality Law
State Bar of California, Board of Legal Specialization

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LIST OF EXHIBITS TO COMPLAINT FOR DECLARATORY AND INJUNCTIVE
RELIEF AND FOR A WRIT IN THE NATURE OF IMMIGRATION MANDAMUS
MENGYAO LIU V. UNITED STATES DEPARTMENT OF HOMELAND SECURITY
ET AL.

EXHIBIT PAGES

A. 1-589 Application for ASY]UM.............cescssccsssccsnseeseecssecssecesnsecseecseesseeecessecseecsaecseseessecseecaesseeeeenees 1
B. 1-589 Asylum Receipt Notice............ccccccccssecssscesecssccesseecssecesecssceesseeesescsaeessceseaeeesesceaeeseessaeeeseeees 15
C. I-797 Notice of Action - Fingerprint Notification of Plaintiff... ee eeecseeceseceeeceeeeeeeaseees 16

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INTRODUCTION

This action is brought by Plaintiff Mengyao Liu, by and through her attorney, to request
issuance of a writ of mandamus or in the nature of mandamus and/or to compel under the
Administrative Procedure Act (“APA”) ordering Defendants and those acting under them to
process an Application for Asylum and for Withholding of Removal which was received and
pending as of June 08, 2020 and which has still not been called for an interview.

On January 26, 2020, Plaintiff Mengyao Liu came to the United States on non-immigrant
visa and has stayed in the US ever since. On June 08, 2020, Plaintiff submitted an I-589
Application for Asylum and Withholding of Removal to the San Francisco Asylum Office.
See (Exhibit A: I-589 Application for Asylum and Withholding of Removal; Exhibit B:
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based on her past persecution as a victim of Family Planning Policy in China.

After submitting her application for asylum, Defendant USCIS instructed Plaintiff Mengyao
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Center on October 16, 2020. See (EXHIBIT C: I-797 Notice of Action- Fingerprint
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Center on October 16, 2020 and provided her biometric information.

After Plaintiff provided her biometrics information, neither Defendant USCIS nor Asylum
Office nor any of the other named Defendants communicated with Plaintiff about the exact
date her asylum interview would be scheduled. The Plaintiff has been waiting over 5 years
for her interview date at this point. Plaintiff has no way of knowing how much longer she
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Mengyao Liu is unable to plan for her future and is forced to endure the constant uncertainty

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of the possibility her application will be denied and referred to The Executive Office for

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. Defendants have violated the Administrative Procedures Act (“APA”) by failing to schedule

Plaintiff's asylum application for an interview which has been pending now for over 5 years.
Plaintiff seek to compel Defendants, through a writ of mandamus, to schedule an interview

for the pending asylum application.

PARTIES

. Plaintiff Mengyao Liu is citizen of China. Plaintiff Mengyao Liu came to the United States

on non-immigrant visa on January 26, 2020. Plaintiff filed her I-589 Application for Asylum

and Withholding of Removal on June 08, 2020.

. Defendant UNITED STATES DEPARTMENT OF HOMELAND SECURITY (hereinafter

“DHS”) is an agency of the United States government involved in the acts challenged,
employs the officers named as defendants, and includes the U.S. Citizenship and
Immigration Services and San Francisco Asylum Office and officers named as defendants in

this complaint.

. Defendant UNITED STATES CITIZENSHIP AND IMMIGRATION SERVICES

(hereinafter “USCIS”) is an agency of the United States government under DHS, overseeing

the San Francisco Asylum Office and officers named as defendants in this Complaint.

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responsibility to adjudicate Plaintiff's asylum application.

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Defendant EMILIA BARDINI (hereinafter “Director Bardini”) is the director of the San
Francisco Asylum Office. This suit is brought against Director Bardini in her official
capacity, as she is charged with overseeing the adjudication of the asylum applications at the
San Francisco Asylum Office in a timely manner, and ensuring the efficiency of the officers
employed.

Defendant KRISTI NOEM (hereinafter “Secretary Noem”) is the Secretary of the
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defraud the immigration system. Certain applications must be reviewed by the Fraud
Detection and National Security Directorate before her final adjudication. Upon information
and belief, USCIS has not adjudicated the Plaintiffs’ asylum application because the Fraud

Detection and National Security Directorate has never completed its review.

JURISDICTION

The Administrative Procedure Act recognizes a right of judicial review for any person
“suffering legal wrong because of an agency action or aggrieved or adversely affected by
such action within the meaning of any relevant statutes.” 5 U.S.C. § 702. Plaintiff suffered a
legal wrong and continue to suffer because of the Defendants’ failure to act upon the pending
Asylum application for indefinite periods of time.

The Court has jurisdiction over the present action pursuant to 8 C.F.R, § 204, Immigration &
Nationality Act § 203 (b)(1)(C); 28 U.S.C. § 1131, 28 U.S.C. § 136, the Mandamus Act; 28
U.S.C §2201, the Declaratory Judgement Act; and 5 U.S.C. §701-706, the Administrative
Procedures Act. Costs and attorney fees will be sought pursuant to the Equal Access to
Justice Act, 5 U.S.C. §504 and 28 U.S.C. §2412(d), et seq. Relief is requested pursuant to
said statutes.

The APA also provides pursuant to 5 U.S.C. § 706(1) that courts “shall compel agency action
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provided a deadline for performance, no balancing of factors is required or permitted.”

VENUE
Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(e), which provides that in a civil
action in which each defendant is an officer or employee of the United States or any agency
thereof acting in his or her official capacity, or under the color of legal authority, or any
agency of the United States, the action may be brought in any judicial district in which a
plaintiff resides, so long as no real property is involved in the action. Plaintiff resides in
Emeryville, California, which is located in the Northern District of California. No real

property is involved in this action. Therefore, venue is proper in this Court.

EXHAUSTION OF REMEDIES

Plaintiff has no administrative remedies. Since Plaintiff Mengyao Liu received her
notification to process her biometric information, she received no clear correspondence or
communication from Defendant USCIS nor Asylum Office about how much longer she will
have to wait for the pending asylum application to be called for an interview. Plaintiff has
been waiting over 5 years at this point to have her asylum claim heard at the San Francisco

Asylum Office. There are no administrative remedies for neglect of duty.

CAUSE OF ACTION

Pursuant to 8 U.S.C §1158, Plaintiff Mengyao Liu filed an application for Asylum and

Withholding of Removal on June 08, 2020.

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Since filing her Application, Plaintiff Mengyao Liu has not received any concrete indication
from the Defendant San Francisco Asylum Office nor USCIS of the date her Asylum
interview will be scheduled. Plaintiff Mengyao Liu, therefore, has no way of knowing how
much longer the scheduling process will take.

Under 28 U.S.C. § 1361, the district courts shall have original jurisdiction of any action in
the nature of a mandamus to compel an officer or employee of the United States or any
agency thereof to perform a duty owed to the plaintiff.

Under the Administrative Procedures Act, a person suffering legal wrong because of agency
action, or adversely affected or aggrieved by agency action within the meaning of a relevant
statute, is entitled to judicial review thereof.

Defendants have a statutory duty to adjudicate asylum requests within 180 days of filing
pursuant to 8 U.S.C. § 1158 (d)(5)(A)(iii). It has been over 5 years since Plaintiff Mengyao
Liu applied for Asylum. Plaintiff have yet to receive an interview date for her case.

Plaintiff has no adequate remedy at law, and will continue to suffer irreparable harm if the
asylum application is not promptly scheduled.

Pursuant to 28 U.S.C. § 1361, this Court has “original jurisdiction in the nature of the
mandamus to compel an officer or employee of the United States or any agency thereof to
perform a duty owed to the [Plaintiffs.]”

Pursuant to 28 U.S.C. § 1651, this Court may issue any and all “writs necessary or
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CLAIM FOR RELIEF

Plaintiffs claim in this action is clear and certain. Plaintiff realleges paragraphs 1 through 27,

and, as if fully set forth, Plaintiff is entitled to an order in the nature of mandamus to compel

Defendants to complete administrative processing and schedule an interview for the pending

Asylum application.

As a result of the Defendants’ failure to adequately perform their duties, Plaintiff has

suffered, is suffering, and will continue to suffer irreparable harm. Specifically:

a. Plaintiff has been irreparably damaged from the fear of not knowing or ability to prepare
for her future concerning what will happen with her asylum case for over 5 years.
Plaintiff Mengyao Liu has been constantly hoping to have the case scheduled for an
interview so her case could then be adjudicated and she can progress with her lives. Due
to the abnormally long wait and lack of certainty surrounding when her asylum case will
be heard, Plaintiff is enduring significant psychological trauma.

b. The delay is causing irreparable harm to Plaintiff who is not able to progress with her
lives in the United States without fear of being forced to return to China, a country where
she was subjected to the Family Planning Policy and forced to have an abortion.

The Defendants, in violation of the Administrative Procedure Act, are unlawfully

withholding or unreasonably delaying action on Plaintiff Mengyao Liu’s application and

have failed to carry out the non-discretionary adjudicative functions delegated to them by law
with regard to her case.

The duty of the Defendants is non-discretionary, ministerial, and so plainly described as to be

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Withholding of Removal application, all to no avail. Only the San Francisco Asylum Office

can make decisions on scheduling an asylum interview, leaving no adequate remedy.

Accordingly, Plaintiff has been forced to pursue the instant action.

PRAYER

WHEREFORE, in view of the arguments and authorities noted herein, Plaintiff respectfully

prays that the Defendants be cited to appear herein and that, upon due consideration, the

Court:

a. Accept jurisdiction and maintain continuing jurisdiction in this action;

b. Declare as unlawful the violation by Defendants of failing to act on a properly filed
Asylum and Withholding of Removal application;

c. Declare Defendants’ failure to carry out the adjudicative functions delegated to them by
law with regard to Plaintiff's case as agency action unlawfully withheld and unreasonably
delayed, pursuant to 5 U.S.C. § 706(1);

d. Issue a preliminary and permanent injunction pursuant to 28 U.S.C. § 1361 and 5 U.S.C.
§ 706(1) compelling the Defendants to take action on Plaintiff Mengyao Liu asylum
application by scheduling an asylum interview and then timely adjudicating the case
subsequent to the interview;

e. Issue a writ in the nature of mandamus pursuant to 28 U.S.C. § 1361 and 5 U.S.C. §

706(1), compelling the Defendants to take action on Plaintiff Mengyao Liu’ Withholding
of Removal Application by scheduling an interview and then timely adjudicating the case

subsequent to the interview;

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f. Grant attorney’s fees and costs of this suit under the Equal Access to Justice Act, 28
U.S.C. § 2412;

g. Grant such relief at law and in equity as justice may require.

Dated: June 09, 2025
Respectfully Submitted,

/Is//, GIHAN THOMAS

Gihan L. Thomas
Certified Specialist, Immigration and Nationality Law
State Bar of California, Board of Legal Specialization

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LIST OF EXHIBITS TO COMPLAINT FOR DECLARATORY AND INJUNCTIVE
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ET AL.

EXHIBIT PAGES

A. 1-589 Application for ASY]UM.............cescssccsssccsnseeseecssecssecesnsecseecseesseeecessecseecsaecseseessecseecaesseeeeenees 1
B. 1-589 Asylum Receipt Notice............ccccccccssecssscesecssccesseecssecesecssceesseeesescsaeessceseaeeesesceaeeseessaeeeseeees 15
C. I-797 Notice of Action - Fingerprint Notification of Plaintiff... ee eeecseeceseceeeceeeeeeeaseees 16

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Exhibit A
Case 3:25-cv-04855

Department of Homeland Security
U.S. Citizenship and Immigration Services

U.S. Department of Justice
Executive Office for Immigration Review

Document 1

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OMB No. 1615-0067; Expires 09/30/2022

1-389, Application for Asylum
and for Withholding of Removal

START HERE - Type or print in black ink. See the instructions for information about eligibility and how to complete and file this
application. There is no filing fee for this application.

NOTE: Check this box if you also want to apply for withholding of removal under the Convention Against Torture.

Part A. Information About You

1. Alien Registration Number(s) (A-Number) (if any)

2. U.S. Social Security Number (if any)

3. USCIS Online Account Number (if any)

XXX-XX-XXXX
4, Complete Last Name 5. First Name 6. Middle Name
Liu Mengyao None
7. What other names have you used (include maiden name and aliases)?
None
8. Residence in the U.S. (where you physically reside)
Street Number and Name Apt. Number
6104 Wild Fox Ct
City State Zip Code Telephone Number
ElkGrove CA 95757 ( 510 ) 3585129

9. Mailing Address in the U.S. (if different than the address in Item Number 8)

In Care Of (if applicable): Telephone Number
Same as above ( )
Street Number and Name Apt. Number
City State Zip Code
10. Gender: [-] Male Female 11. Marital Status: Single C] Married C] Divorced C] Widowed

12. Date of Birth (mm/dd/yyyy)
09/25/1991

13. City and Country of Birth

Yichun China

14. Present Nationality (Citizenship)

Chinese

15. Nationality at Birth

Chinese

16. Race,

Han

17. Religion
Buddhist

Ethnic, or Tribal Group

b. [-] Iam now in Immigration Court proceedings.

18. Check the box, a through c, that applies: a. I have never been in Immigration Court proceedings.

ce. [_] Iam not now in Immigration Court proceedings, but I have been in the past.

19, Complete 19 a through c.

c. List each ent
(Attach additional sheets as needed.)

a. When did you last leave your country? (mm/dd/yyyy) 01/26/2020

b. What is your current I-94 Number, if any? 462112540A2

into the U.S. beginning with your most recent entry. List date (mm/dd/yyyy), place, and your status for each entry.

Date 01/26/2020 Place San Francisco Status F1 Date Status Expires
Date 09/04/2019 Place San Francisco Status F1
Date 09/14/2018 Place San Francisco Status F1

document?

China

20. What country issued your last passport or travel

21. Passport Number EH1576096

22. Expiration Date
(mm/dd/yyyy)

Travel Document Number None

09/03/2029

Chinese Mandarin

23. What is your native language (include dialect, if applicable)?

24. Are you fluent in English?

None

25. What other languages do you speak fluently?

For EOIR use only.

Decision:
Approval Date:

Yes [_]No
For Action:
USCIS Interview Date:
use only, Asylum Officer ID No.:

Denial Date:

Referral Date:

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Part A.II. Information About Your Spouseand Children

Your spouse I am not married. (Skip to Your Children below.)

1. Alien Registration Number (A-Number) |2. Passport/ID Card Number 3. Date of Birth (mm/dd/yyyy) |4. U.S. Social Security Number

(if any) (if any) (ifany)

5. Complete Last Name 6. First Name 7. Middle Name 8. Other names used (include
maiden name and aliases)

9. Date of Marriage (mm/dd/yyyy) 10. Place of Marriage 11. City and Country of Birth

12. Nationality (Citizenship) 13. Race, Ethnic, or Tribal Group 14. Gender

C] Male CJ Female

15. Is this person in the U.S.?
C] Yes (Complete Blocks 16 to 24.) LC] No (Specify location):

16. Place of last entry into the U.S. |17. Date of last entry into the 18. 1-94 Number (if any) 19. Status when last admitted
U.S. (mm/dd/yyyy) (Visa type, if any)
20. What is your spouse's 21. What is the expiration date of his/her |22. Is your spouse in Immigration] 23. If previously in the U.S., date of
current status? authorized stay, if any? (mm/dd/yyyy) Court proceedings? previous arrival (mm/dd/yyyy)
[] Yes [_] No

24. If in the U.S., is your spouse to be included in this application? (Check the appropriate box.)
C] Yes (Attach one photograph of your spouse in the upper right corner of Page 9 on the extra copy of the application submitted for this person.)

[_] No

Your Children. List all of your children, regardless of age, location, or marital status.

I do not have any children. (Skip to Part. A.lII., Information about your background.)
C] Ihave children. Total number of children:

(NOTE: Use Form I-589 Supplement A or attach additional sheets of paper and documentation if you have more than four children.)

1. Alien Registration Number (A-Number)|2. Passport/ID Card Number 3. Marital Status (Married, Single, |4. U.S. Social Security Number
(if any) (if any) Divorced, Widowed) (if'any)

5. Complete Last Name 6. First Name 7. Middle Name 8. Date of Birth (mm/dd/yyyy)

9. City and Country of Birth 10. Nationality (Citizenship) 11, Race, Ethnic, or Tribal Group 12. Gender

[_] Male [_] Female

13. Is this child in the U.S. ? [| Yes (Complete Blocks 14 to 21.) C] No (Specify location):

; 15. Date of last entry into the | 16. I-94 Number (/fany) 17. Status when last admitted
14. Place of last entry into the U.S. U.S. (nm/delyyy) (Visa type, if any)

18. What is your child's current status? 19. What is the expiration date of his/her

20. Is your child in Immigration Court proceedings?
authorized stay, if any? (mm/dd/yyy)

[_] Yes [_] No

21. If in the U.S., is this child to be included in this application? (Check the appropriate box.)
C] Yes (Attach one photograph of your child in the upper right corner of Page 9 on the extra copy of the application submitted for this person.)

[_] No

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1. Alien Registration Number (A-Number) | 2. Passport/ID Card Number | 3. Marital Status (Married, Single, |4. U.S. Social Security Number
(if'any) (if any) Divorced, Widowed) (if any)

5. Complete Last Name 6. First Name 7. Middle Name 8. Date of Birth (mm/ddjyyy)

9. City and Country of Birth 10. Nationality (Citizenship) 11. Race, Ethnic, or Tribal Group 12. Gender

[-] Male [_] Female

13. Is this child in the U.S. ? C] Yes (Complete Blocks 14 to 21.) [J No (Specify location):

14. Place of last entry into the U.S. 15. Date of last entry into the | 16. 1-94 Number (Jf any) 17. Status when last admitted
U.S. (mm/dd/yyyy) (Visa type, if any)
18. What is your child's current status? 19, What is the expiration date of his/her | 20. Is your child in Immigration Court proceedings?
ize if any? /|
authorized stay, if any? (mm/dd/yyyy) O Ves oO No

21. If in the U.S., is this child to be included in this application? (Check the appropriate box.)
[_] Yes (Attach one photograph of your spouse in the upper right corner of Page 9 on the extra copy of the application submitted for this person.)

[_] No

1, Alien Registration Number (A-Number) | 2. Passport/ID Card Number | 3. Marital Status (Married, Single, |4. U.S. Social Security Number
(if any) (ifany) Divorced, Widowed) (if any)

5. Complete Last Name 6. First Name 7. Middle Name 8. Date of Birth (mm/dd/yyyy)

9. City and Country of Birth 10. Nationality (Citizenship) 11. Race, Ethnic, or Tribal Group 12. Gender

[-] Male [[] Female

13. Is this child in the U.S. ? C] Yes (Complete Blocks 14 to 21.) CJ No (Specify location):

Q i 15. Date of last entry into the .1-94.N , 17. Status when last admitted
14, Place of last entry into the U.S. Us. (nmmidahng) 16. [-94 Number (/fany) (isa.type, Fany
18. What is your child's current status? 19. What is the expiration date of his/her | 29, Is your child in Immigration Court proceedings?

authorized stay, if any? (mm/dd/yyyy)

[_] Yes [] No

21. If in the U.S., is this child to be included in this application? (Check the appropriate box.)
C] Yes (Attach one photograph of your spouse in the upper right corner of Page 9 on the extra copy of the application submitted for this person.)

[_] No

1, Alien Registration Number (A-Number) | 2. Passport/ID Card Number |3. Marital Status (Married, Single, | 4. U.S. Social Security Number
(if any) (if any) Divorced, Widowed) (if any)

5. Complete Last Name 6. First Name 7. Middle Name 8. Date of Birth (mm/dd/yyyy)

9. City and Country of Birth 10. Nationality (Citizenship) 11. Race, Ethnic, or Tribal Group 12. Gender

C] Male [] Female

13. Is this child in the U.S. ? C] Yes (Complete Blocks 14 to 21.) L] No (Specify location):

14. Place of last entry into the U.S. 15. Date of last entry into the | 16. I-94 Number (/fany) 17. Status when last admitted
U.S. (mm/dd/yvyy) (Visa type, if any)
18. What is your child's current status? 19. What is the expiration date of his/her | 20. Is your child in Immigration Court proceedings?

authorized stay, if any? (mm/dd/vyyy)

C] Yes [] No

21. If in the U.S., is this child to be included in this application? (Check the appropriate box.)
[_] Yes (Attach one photograph of your spouse in the upper right corner of Page 9 on the extra copy of the application submitted for this person.)

[_] No 3

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Part A.III. Information About Your Background Eee

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1. List your last address where you lived before coming to the United States. If this is not the country where you fear persecution, also list the last
address in the country where you fear persecution. (List Address, City/Town, Department, Province, or State and Country.)
(NOTE: Use Form I-589 Supplement B, or additional sheets of paper, if necessary.)

Number and Street j een Dates
(Provide if available) City/Town Department, Province, or State Country From (Mo/Yr) To (Mo/¥r)
6/2/3102 Hebin Garden Tianjin Tianjin China 01/13 09/11

Yuanwei Rd Hebei Qu

Q) Provide the following information about your residences during the past 5 years. List your present address first.
. (NOTE: Use Form I-589 Supplement B, or additional sheets of paper, if necessary.)

Number and Street City/Town Department, Province, or State Country From tule 1 Th (Mo/¥r)
6104 Wild Fox Ct E1k Grove CA USA 09/19 .
1739 Francisco St Berkeley CA USA 09/11 09/19
6/2/3102 Hebin Garden Tianjin Tianjin China 01/13 09/11
Yuanwei Rd Hebei Qu
@ Provide the following information about your education, beginning with the most recent school that you attended.
(NOTE: Use Form 1-589 Supplement B, or additional sheets of paper, if necessary.)
Name of School Type of School Location (Address) From ees (Mo/¥r)
Cal Northeast University University Elk Grove CA USA 09/19 x
UC Berkeley University Berkeley CA USA 09/11 05/16
Tianjin Xinhua School Highschool Tianjin China 08/08 05/11
Tianjin 109 school Middle school Tianjin China 08/05 05/08
4, Provide the following information about your employment during the past 5 years. List your present employment first.
(NOTE: Use Form I-589 Supplement B, or additional sheets of paper, if necessary.)
Name and Address of Employer Your Occupation poles >
From (Mo/Yr) To (Mo/¥r)
University of California San Francisco Junior Specialist 05/15 09/19
University of Berkeley Research Internship 05/15 05/17
Ivymax Inc Part time SAT teacher 09/18 09/19

5. Provide the following information about your parents and siblings (brothers and sisters), Check the box if the person is deceased.
(NOTE: Use Form I-589 Supplement B, or additional sheets of paper, if necessary.)

Full Name City/Town and Country of Birth Current Location
Mother Xiuyun Shen Heilongjiang China LJ Deceased Tianjin China
Father Zhao Liu Heilongjiang China [_] Deceased Tianjin China
Sibling None None C] Deceased None
Sibling None None [_] Deceased None
Sibling None None [_] Deceased None
Sibling None None C] Deceased None

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Part B, Information About Your Applicati

(NOTE: Use Form I-589 Supplement B, or attach additional sheets of paper as needed to complete your responses to the questions contained in
Part B.)

When answering the following questions about your asylum or other protection claim (withholding of removal under 241(b)(3) of the INA or
withholding of removal under the Convention Against Torture), you must provide a detailed and specific account of the basis of your claim to asylum
or other protection. To the best of your ability, provide specific dates, places, and descriptions about each event or action described. You must attach
documents evidencing the general conditions in the country from which you are seeking asylum or other protection and the specific facts on which
you are relying to support your claim. If this documentation is unavailable or you are not providing this documentation with your application, explain
why in your responses to the following questions.

Refer to Instructions, Part 1: Filing Instructions, Section II, "Basis of Eligibility," Parts A - D, Section V, "Completing the Form," Part B, and Section
VII, "Additional Evidence That You Should Submit," for more information on completing this section of the form.

1. Why are you applying for asylum or withholding of removal under section 241(b)(3) of the INA, or for withholding of removal under the
Convention Against Torture? Check the appropriate box(es) below and then provide detailed answers to questions A and B below.

I am seeking asylum or withholding of removal based on:

[_] Race Political opinion
C] Religion L] Membership in a particular social group
[_] Nationality Torture Convention

A. Have you, your family, or close friends or colleagues ever experienced harm or mistreatment or threats in the past by anyone?

[_] No Yes

If"Yes," explain in detail:

1. What happened;

2. When the harm or mistreatment or threats occurred;

3. Who caused the harm or mistreatment or threats; and

4. Why you believe the harm or mistreatment or threats occurred.

Please see attached statement.

B. Do you fear harm or mistreatment if you return to your home country?

[_] No Yes

If "Yes," explain in detail:

1. What harm or mistreatment you fear;

2. Who you believe would harm or mistreat you; and

3. Why you believe you would or could be harmed or mistreated.

Please see attached statement.

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Part B. Information About Your Application (Continued)

2. Have you or your family members ever been accused, charged, arrested, detained, interrogated, convicted and centenoed, or imprisoned in any
country other than the United States (including for an immigration law violation)?

No C] Yes

If "Yes," explain the circumstances and reasons for the action.

3.A. Have you or your family members ever belonged to or been associated with any organizations or groups in your home country, such as, but not
limited to, a political party, student group, labor union, religious organization, military or paramilitary group, civil patrol, guerrilla organization,
ethnic group, human rights group, or the press or media?

No [_] Yes

If "Yes," describe for each person the level of participation, any leadership or other positions held, and the length of time you or your family
members were involved in each organization or activity.

3.B. Do you or your family members continue to participate in any way in these organizations or groups?

No [_] Yes

If "Yes," describe for each person your or your family members’ current level of participation, any leadership or other positions currently held,
and the length of time you or your family members have been involved in each organization or group.

4. Are you afraid of being subjected to torture in your home country or any other country to which you may be returned?

[_] No Yes

If "Yes," explain why you are afraid and describe the nature of torture you fear, by whom, and why it would be inflicted.

Please see attached statement.

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Part C, Additional Information About Your Application

(NOTE: Use Form 1-589 Supplement B, or attach additional sheets of paper as needed to complete your responses to the questions contained in
Part C.)

1. Have you, your spouse, your child(ren), your parents or your siblings ever applied to the U.S. Government for refugee status, asylum, or
withholding of removal?

No CJ Yes

If"Yes," explain the decision and what happened to any status you, your spouse, your child(ren), your parents, or your siblings received as a
result of that decision. Indicate whether or not you were included in a parent or spouse's application. Ifso, include your parent or spouse's
A-number in your response. If you have been denied asylum by an immigration judge or the Board of Immigration Appeals, describe any
change(s) in conditions in your country or your own personal circumstances since the date of the denial that may affect your eligibility for
asylum.

2.A. After leaving the country from which you are claiming asylum, did you or your spouse or child(ren) who are now in the United States travel
through or reside in any other country before entering the United States?

No [_] Yes

2.B. Have you, your spouse, your child(ren), or other family members, such as your parents or siblings, ever applied for or received any lawful status
in any country other than the one from which you are now claiming asylum?

No [_] Yes

If "Yes" to either or both questions (2A and/or 2B), provide for each person the following: the name of each country and the length of stay, the
person's status while there, the reasons for leaving, whether or not the person is entitled to return for lawful residence purposes, and whether the
person applied for refugee status or for asylum while there, and if not, why he or she did not do so.

3. Have you, your spouse or your child(ren) ever ordered, incited, assisted or otherwise participated in causing harm or suffering to any person
because of his or her race, religion, nationality, membership in a particular social group or belief in a particular political opinion?

No [_] Yes

If" Yes," describe in detail each such incident and your own, your spouse's, or your child(ren)'s involvement.

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Part C. Additional Information About Your Application (Continued)
4.

After you left the country where you were harmed or fear harm, did you return to that country?
No C] Yes

If "Yes," describe in detail the circumstances of your visit(s) (for example, the date(s) of the trip(s), the purpose(s) of the trip(s), and the length
of time you remained in that country for the visit(s).)

5. Are you filing this application more than | year after your last arrival in the United States?
No [_] Yes
If "Yes," explain why you did not file within the first year after you arrived. You must be prepared to explain at your interview or hearing why
you did not file your asylum application within the first year after you arrived. For guidance in answering this question, see Instructions, Part 1:
Filing Instructions, Section V. "Completing the Form," Part C.

6.

Have you or any member of your family included in the application ever committed any crime and/or been arrested, charged, convicted, or
sentenced for any crimes in the United States (including for an immigration law violation)?

No [_] Yes

If "Yes," for each instance, specify in your response: what occurred and the circumstances, dates, length of sentence received, location, the
duration of the detention or imprisonment, reason(s) for the detention or conviction, any formal charges that were lodged against you or your

relatives included in your application, and the reason(s) for release. Attach documents referring to these incidents, if they are available, or an
explanation of why documents are not available.

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Part D; Your Signature 9) 9)

I certify, under penalty of perjury under the laws of the United States of America, that this application and the
evidence submitted with it are all true and correct. Title 18, United States Code, Section 1546(a), provides in part:
Whoever knowingly makes under oath, or as permitted under penalty of perjury under Section 1746 of Title 28,
United States Code, knowingly subscribes as true, any false statement with respect to a material fact in any
application, affidavit, or other document required by the immigration laws or regulations prescribed thereunder, or
knowingly presents any such application, affidavit, or other document containing any such false statement or
which fails to contain any reasonable basis in law or fact - shall be fined in accordance with this title or
imprisoned for up to 25 years. I authorize the release of any information from my immigration record that U.S.
Citizenship and Immigration Services (USCIS) needs to determine eligibility for the benefit I am seeking.

WARNING: Applicants who are in the United States unlawfully are subject to removal if their asylum or withholding claims are not
granted by an asylum officer or an immigration judge. Any information provided in completing this application may be used as a basis for
the institution of, or as evidence in, removal proceedings even if the application is later withdrawn. Applicants determined to have
knowingly made a frivolous application for asylum will be permanently ineligible for any benefits under the Immigration and Nationality
Act. You may not avoid a frivolous finding simply because someone advised you to provide false information in your asylum application. If
filing with USCIS, unexcused failure to appear for an appointment to provide biometrics (such as fingerprints) and your biographical
information within the time allowed may result in an asylum officer dismissing your asylum application or referring it to an immigration
judge. Failure without good cause to provide DHS with biometrics or other biographical information while in removal proceedings may
result in your application being found abandoned by the immigration judge. See sections 208(d)(5)(A) and 208(d)(6) of the INA and 8 CFR
sections 208.10, 1208.10, 208.20, 1003.47(d) and 1208.20.

Print your complete name. Write your name in your native alphabet.
5 kK ky
\ A “Te

Liu Mengyao x | 5 iC

KpDid your spouse, parent, or child(ren) assist you in completing this application? C] No LJ Yes (If "Yes," list the name and relationship.)

(Name) (Relationship) (Name) (Relationship)

Did someone other than your spouse, parent, or child(ren) prepare this application? y ] No [] Yes (If "Yes, "complete Part E.)

Asylum applicants may be represented by counsel. Have you been provided witha list of x CJ No C] Yes
persons who may be available to assist you, at little or no cost, with your asylum claim?

Signature of Applicant (The person in Part. A.L.)

= | Mower in ] 05/29/2020

Sign your name so it all appears within the brackets Date (mm/dd/yyyy)

Part E. Declaration of Person Preparing Form, if Other Than Applicant, Spouse, Parent, or Child

| declare that | have prepared this application at the request of the person named in Part D, that the responses provided are based on all information of
which I have knowledge, or which was provided to me by the applicant, and that the completed application was read to the applicant in his or her
native language or a language he or she understands for verification before he or she signed the application in my presence. | am aware that the
knowing placement of false information on the Form 1-589 may also subject me to civil penalties under 8 U.S.C. 1324¢ and/or criminal penalties
under 18 U.S.C. 1546(a).

Signature of Preparer Print Complete Name of Preparer

< a / Ve QL Jay Yang

Daytime Telephone umbek Address of Preparer: Street Number and Name
( 626 ) 3100889 600 W Main st
Apt. Number City State Zip Code
201 Alhambra CA 91801
Select this box if Attorney State Bar Number (if | Attorney or Accredited Representative
Tobe completed by an Form G-28 is applicable) USCIS Online Account Number (if any)

attorney or accredited

Re ttached.
representative (if any). amaene

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Part F. To Be Completed at Asylum Interview, if Applicable

NOTE: You will be asked to complete this part when you appear for examination before an asylum officer of the Department of Homeland Security,
U.S. Citizenship and Immigration Services (USCIS).

I swear (affirm) that I know the contents of this application that I am signing, including the attached documents and supplements, that they are

(_] all true or (_] not all true to the best of my knowledge and that correction(s) numbered __ to were made by me or at my request.
Furthermore, I am aware that if I am determined to have knowingly made a frivolous application for asylum I will be permanently ineligible for any
benefits under the Immigration and Nationality Act, and that I may not avoid a frivolous finding simply because someone advised me to provide
false information in my asylum application.

Signed and sworn to before me by the above named applicant on:

Signature of Applicant Date (mm/dd/yyyy)

Write Your Name in Your Native Alphabet Signature of Asylum Officer

Part G. To Be Completed at Removal Hearing, if Applicable

NOTE: You will be asked to complete this Part when you appear before an immigration judge of the U.S. Department of Justice, Executive Office
for Immigration Review (EOIR), for a hearing.

| swear (affirm) that I know the contents of this application that I am signing, including the attached documents and supplements, that they are

[_] all true or [_] not all true to the best of my knowledge and that correction(s) numbered ___ to were made by me or at my request.
Furthermore, I am aware that if | am determined to have knowingly made a frivolous application for asylum I will be permanently ineligible for any
benefits under the Immigration and Nationality Act, and that | may not avoid a frivolous finding simply because someone advised me to provide
false information in my asylum application.

Signed and sworn to before me by the above named applicant on:

Signature of Applicant Date (mm/dd/yyyy)
Write Your Name in Your Native Alphabet Signature of Immigration Judge

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Asylum Application

My name is Liu Mengyao. I was born on September 25, 1991 in Heilongjiang China. I
am single, female, currently 28 years old. I was forced by the family planning authority to
undergo an abortion in China because I was pregnant without being married. The
abortion caused me unforgettable emotional and physical pain. I am afraid to go back to
the country that hurt me so I am applying to the US government for protection.

I came to the U.S. in 2011 to attend UC Berkeley while I was only 19 years old. It was
my first time to leave my parents and live alone by myself. I was faced with academic
pressure, language barriers, and unfamiliarity with strange environments. My life is full
of depression and anxiety; I missed very much the good times at home with my parents.
At the most difficult time in my life, my school mate Zhang Fan entered my life. He
came to the United States when he was in junior high school. He often encouraged and
comforted me; we went to the library together and eat together, the time with him always
passed quickly and gradually I was not so sad and homesick. We later because boyfriend
and girlfriend.

I returned to China on December 24, 2019 for winter break. After I returned to China, I
felt tired, sleepy and no appetite. After the symptom lasted for several days, my mother
went with me to a hospital to see a doctor on December 28. The doctor told me that I was
pregnant after some lab test was done. I was very surprised; my mother was very upset
because pregnancy out of wedlock was considered a shameful thing in China. My mother
asked me to call my boyfriend in the United States to see what he planned to do. My
boyfriend was very responsible and said that he would marry me immediately after I
return to the United States so I could give birth to our child and bring our child up.

On December 30, 2019, someone knocked on my door looking for me while I was home
resting. I found 3 men and 1 woman after I opened the door. The woman told me that she
was the deputy director of Hebei district family planning office. The hospital notified
them about my pregnancy out of wedlock. She said the family planning policy dose not
allows pregnancy of our wedlock and they wanted to take me to the hospital for an
abortion. I told them that my boyfriend was in the U.S. and I just returned to China from
the U.S. because I was attending university there. I came home to visit my parents. I
would return to the U.S. in January to get married with my boyfriend and I would not
give birth to my baby in China. That woman said to me: I do not care where you
boyfriend is and I do not care where you are attending school; you are a Chinese citizen
and you are pregnant without being married which is in violation of the national policy.
You must have an abortion. I refused to go with them and attempted to close my door.
They push the door open and pulled me out of my house. I was extremely scare and
screamed on top of my lung but no one showed up to help me.

They took me to Tianjin women and children’s hospital by force. At the hospital, they
performed abortion procedure on me against my will. They took me home after the
abortion and humiliated me by saying: Don't is such an easy woman and get pregnant

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again without knowing who the father is. If you get pregnant again, it won’t be so easy
just to have an abortion, we would also fine you.

I could not believe what actually had happened. I spent the rest of my time wondering
what exactly had happened. What did I do wrong? Is this country crazy? A woman’s right
to have a child is under their control? Are women treated less than animals in China?

I could not believe nor accept they way they treated me. I cried for days and then I started
to blame myself. I hated myself for going back to China. I hated that I failed to protect
my first child in my life; I hated that inhumane and unreasonable country. I really can't
believe that in this era, China can still treat women as animals.

My parents were very upset after they learned about what happened to me so they went to
reason with the family planning authorities who threatened my parents of losing their
jobs and pensions if they have problems with the national policy.

I finally realized that government does not emphasize human rights and justice. The
episodes of being arrested and forced abortion constantly emerging in my mind. I am so
afraid of them. I will never dare to go back to China again. And I am not willing to go
back again. I am now asking the U.S. government for protection. Thank you.

Liu Mengyao

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Case 3:25-cv-04855 Documenti_ Filed 06/09/25 Page 35 of 40

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Exhibit B
Case 3:25-cv-04855 - Document 1 ~~ Filed:06/09/25—, Page 38 of 40

Receipt Number Case Type
ZSF2045886170 1589 - APPLICATION FOR ASYLUM AND FOR WITHHOLDING OF
REMOVAL
Received Date Priority Date Applicant A218 053 446
06/08/2020, LIU, MENGYAO
Notice Date Page
09/15/2020 1 of 1
MENGYAO LIU Notice Type: Receipt Notice
6104 WILD FOX CT

ELK GROVE CA 95757

*** ACKNOWLEDGEMENT OF RECEIPT ***

Your complete Form I-589 Application for Asylum and Withholding of Removal was received and is pending as of 06/08/2020. You may remain in the
U.S. until your asyium application 1s Gv ‘ded. 7f you wish to leave while your application 1s pending, you must obtain advance paroije irom USCIS. if

you change your address, send written notification of the change within 10 days to the Asylum Office at the below address or using the USCIS Online
Change of Address system at https://egov.uscis.gov/coa/displayCOAForm.do. You will receive a notice informing you when you and those listed on your
application as a spouse or child dependents must appear at an Application Support Center for biometrics collection. You will also receive a notice informing
you when you and those listed on your application as a spouse or dependents must appear for an asylum interview. Those notices will contain instructions
for what to bring to your ASC appointment and what to bring to your asylum interview.

WARNING: Failure to appear at the ASC for biometrics collection or for your asylum interview may affect your eligibility for employment authorization,

and may also result in the dismissal of your asylum application or referral of your asylum application to an immigration judge.

Alien Number Name
A218 053 446 LIU, MENGYAO

Please see the additional information on the back. You will be notified separately about any other cases you filed.

San Francisco Asylum Office

U. S. CITIZENSHIP & IMMIGRATION SVC

P.O. Box 77530

San Francisco CA 94107

USCIS Contact Center: www.uscis.gov/contactcenter

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Exhibit C
Department of Homeland Sepettyy_04855 Document1 Filed 06/09/48prnPagFOWCyINGtice of Action

U.S. Citizenship and Immigration Services
ae a a ne

THIS NOTICE DOES NOT GRANT ANY IMMIGRATION STATUS OR BENEFIT.

fie ASC Appointment Notice APPLICATION/PETITION/REQUEST NUMBER NOTICE DATE
ZSF2045886170 09/26/2020
CASE TYPE ACCOUNT NUMBER USCIS A# CODE
I589 - APPLICATION FOR ASYLUM AND FOR WITHHOLDING OF REMOVAL A218 053 446 3
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To process your application, petition, or request, the U. S. Citizenship & Immigration Services (USCIS) must capture your biometrics.
PLEASE APPEAR AT THE BELOW APPLICATION SUPPORT CENTER (ASC) AT THE DATE AND TIME SPECIFIED.

APPLICATION SUPPORT CENTER PLEASE READ THIS ENTIRE NOTICE CAREFULLY.
USCIS SACRAMENTO DATE AND TIME OF APPOINTMENT

825 Riverside Parkway Suite 100. 10/16/2020

West Sacramento CA 95605 11:00AM

WHEN YOU GO TO THE APPLICATION SUPPORT CENTER TO HAVE YOUR BIOMETRICS TAKEN, YOU MUST BRING:

1. THIS APPOINTMENT NOTICE, and

2. PHOTO IDENTIFICATION (e.g. passport, valid driver’s license, national ID, military ID, State-issued photo ID, or USCIS-issued photo ID). If

you do not have photo identification, please expect a delay.

Customers may not use cameras and recording capable devices (including cell phones) at an ASC. Cell phones should be silenced while in the waiting area
and any conversations should be kept to a low level so as not to disrupt others. Customers must completely turn off all phones during biometrics processing.
NOTE: USCIS may use your fingerprints to check the criminal history records of the FBI. You may obtain a copy of your own FBI identification record
using the procedures outlined within Title 28 C.F.R Section 16.32. The procedures to change, correct, or update your FBI identification record are outlined
within Title 28 C.F.R. Section 16.34. Your fingerprints and photograph may also be used in an Employment Authorization Document (EAD) if you apply
for, and are eligible to receive, an EAD.
NOTE: If USCIS ASC is closed due to inclement weather or for other unforeseeable circumstances, USCIS will automatically reschedule your
appointment for the next available appointment date and mail you a notice with the new date and time.

WARNING: Failure to appear at this biometrics appointment, without good cause, may affect your eligibility for employment authorization. It may
also result in dismissal of your asylum application or referral of your asylum application to an immigration judge if you are not currently in removal
proceedings. If you are an applicant or eligible dependent in removal proceedings, failure to provide DHS with biometrics as required, except for good
cause, may result in a delay in deciding your application or in your application being deemed abandoned and dismissed by the immigration judge.

CHANGE OF ADDRESS: You must notify USCIS of any change of address within 10 days. Please see the USCIS website at www.uscis.gov/
addresschange for instructions to change your address online or to mail a completed Form AR-11, Alien’s Change of Address Card, to USCIS. This form
is also available at any U.S. Post Office or any USCIS office. If you are in removal proceedings, you must also notify the Immigration Court within five
working days of any change of address or telephone number by filing a completed Form EOIR-33, Alien’s Change of Address Form/Immigration Court, in
accordance with accompanying instructions, available at www.justice.gov/eoir/form-eoir-33-eoir-immigration-court-listing.

WARNING: You must update your mailing address with USCIS, and, if applicable, EOIR. Failure to do so may result in dismissal of your asylum
application, referral of your asylum application to an Immigration Judge, or if you are already in removal proceedings, an entry of a removal order in your
absence if you fail to appear at a hearing before an immigration judge.

REQUEST FOR RESCHEDULING
I Please reschedule my appointment. Make a copy of this notice for your records, then mail the original with your request to the Biometrics
Processing Unit (BPU), Alexandria ASC, Suite 100, 8850 Richmond Hwy, Alexandria, VA 22309-1586. Once USCIS receives your request, you will be
sent anew ASC appointment notice.

APPLICATION NUMBER
1589 - ZSF2045886170

If you have any questions regarding this notice, please call 1-800-375-5283.
If you have any questions about your application, please contact the Asylum Office or Immigration Court with jurisdiction over your case.

WARNING: Due to limited seating availability in our lobby area, only persons who are necessary to assist with transportation or completing the biometrics
worksheet should accompany you. If you have open wounds or bandages/casts when you appear, the USCIS may reschedule your appointment if it is

determined your injuries will interfere with taking your biometrics.
If this is an interview or biometrics appointment notice, please see the back of this notice for important information. Form I-797C 04/01/19
